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                                   7                                    UNITED STATES DISTRICT COURT

                                   8                                   NORTHERN DISTRICT OF CALIFORNIA

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                                         STEPHAN NAMISNAK, et al.,
                                  10                                                        Case No. 17-cv-06124-RS
                                                         Plaintiffs,
                                  11
                                                   v.                                       CASE MANAGEMENT SCHEDULING
                                  12                                                        ORDER
Northern District of California
 United States District Court




                                         UBER TECHNOLOGIES, INC., et al.,
                                  13
                                                         Defendants.
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                                  15          Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, the parties attended a

                                  16   telephonic Initial Case Management Conference on May 21, 2020. After considering the Joint

                                  17   Case Management Statement submitted by the parties and consulting with the attorneys of record

                                  18   for the parties and good cause appearing, IT IS HEREBY ORDERED THAT:

                                  19          1.        AMENDING THE PLEADINGS.

                                  20          The deadline to amend the pleadings without seeking leave from the Court shall be June

                                  21   19, 2020.

                                  22          2.        DISCOVERY.

                                  23          On or before December 18, 2020, all non-expert discovery shall be completed by the

                                  24   parties. Discovery shall be limited as follows: (a) ten (10) non-expert depositions per party; (b)

                                  25   twenty-five (25) interrogatories per party, including all discrete subparts; (c) a reasonable number

                                  26   of requests for production of documents or for inspection per party; and (d) a reasonable number

                                  27   of requests for admission per party.

                                  28          3.        DISCOVERY DISPUTES.
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                                   1          Discovery disputes will be referred to a Magistrate Judge. After the parties have met and

                                   2   conferred, the parties shall prepare a joint letter of not more than 5 pages explaining the dispute.

                                   3   Up to 12 pages of attachments may be added. The joint letter must be electronically filed under

                                   4   the Civil Events category of “Motions and Related Filings > Motions--General > Discovery Letter

                                   5   Brief.” The Magistrate Judge to whom the matter is assigned will advise the parties of how that

                                   6   Judge intends to proceed. The Magistrate Judge may issue a ruling, order more formal briefing, or

                                   7   set a telephone conference or a hearing. After a Magistrate Judge has been assigned, all further

                                   8   discovery matters shall be filed pursuant to that Judge’s procedures.

                                   9          4.      EXPERT WITNESSES.

                                  10          The disclosure and discovery of expert witnesses shall proceed as follows:

                                  11               a. On or before January 18, 2021, parties will designate experts in accordance with

                                  12                  Federal Rule of Civil Procedure 26(a)(2).
Northern District of California
 United States District Court




                                  13               b. On or before February 18, 2021, parties will designate their supplemental and

                                  14                  rebuttal experts in accordance with Federal Rule of Civil Procedure 26(a)(2).

                                  15               c. On or before March 19, 2021, all discovery of expert witnesses pursuant to Federal

                                  16                  Rule of Civil Procedure 26(b)(4) shall be completed.

                                  17          5.      FURTHER CASE MANAGEMENT CONFERENCE.

                                  18          A Further Case Management Conference shall be held on January 7, 2021 at 10:00 a.m.

                                  19   in Courtroom 3, 17th Floor, United States Courthouse, 450 Golden Gate Avenue, San Francisco,

                                  20   California. The parties shall file a Joint Case Management Statement at least one week prior to the

                                  21   Conference.

                                  22          6.      PRETRIAL MOTIONS.

                                  23          All dispositive pretrial motions must be filed and served pursuant to Civil Local Rule 7.

                                  24   Each party is limited to one motion for summary judgment absent leave of Court. All pretrial

                                  25   motions shall be heard no later than July 15, 2021. The Court encourages the participation at oral

                                  26   argument of lawyers who are early in their professional career (e.g., 0-10 years of experience).

                                  27          7.      PRETRIAL CONFERENCE.

                                  28                                                                     CASE MANAGEMENT SCHEDULING ORDER
                                                                                                                 CASE NO. 17-cv-06124-RS
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                                   1          The final pretrial conference will be held on September 22, 2021 at 10:00 a.m., in

                                   2   Courtroom 3, 17th Floor, United States Courthouse, 450 Golden Gate Avenue, San Francisco,

                                   3   California. Each party or lead counsel who will try the case shall attend personally.

                                   4          8.      TRIAL DATE.

                                   5          A bench trial shall commence on October 12, 2021 at 9:00 a.m., in Courtroom 3, 17th

                                   6   Floor, United States Courthouse, 450 Golden Gate Avenue, San Francisco, California.

                                   7

                                   8   IT IS SO ORDERED.

                                   9

                                  10   Dated: May 21, 2020

                                  11                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                  12                                                   United States District Judge
Northern District of California
 United States District Court




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                                                                                                               CASE NO. 17-cv-06124-RS
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